             Case 2:22-ap-01125-DS                   Doc 85 Filed 10/25/22 Entered 10/25/22 15:54:59                                     Desc
                                                      Main Document    Page 1 of 7



    Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &      FOR COURT USE ONLY
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         Individual appearing without attorney
         Attorney for Cross-Defendant Nile Niami

                                           UNITED STATES BANKRUPTCY COURT
                                  CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION

    In re:
                                                                                CASE NO.: 2:21-bk-18205-DS
    CRESTLLOYD, LLC,                                                            CHAPTER: 11
                                                                                ADVERSARY NO.: 2:22-ap-01125-DS
                                                                 Debtor(s).

    INFERNO INVESTMENT, INC., a Quebec corporation,

                                                                Plaintiff(s),
                                      vs.                                         NOTICE OF LODGMENT OF ORDER OR JUDGMENT IN
                                                                                  ADVERSARY PROCEEDING RE: (title of motion1):
    CRESTLLOYD, LLC, a California limited liability                               STIPULATION TO EXTEND TIME FOR
    company; HANKEY CAPITAL LLC, a California                                     CROSS-DEFENDANT NILE NIAMI TO
    limited liability company, YOGI SECURITIES                                    RESPOND TO CROSS-CLAIMANT
    HOLDINGS, LLC, a Nevada limited liability                                     CRESTLLOYD, LLC’S CROSS-COMPLAINT
    Company; and HILLDUN CORPORATION, a
    NEW YORK CORPORATION,
                                               Defendant
    __________________________________________________
    AND RELATED CROSS-ACTIONS.

     PLEASE TAKE NOTE that the order or judgment titled ORDER APPROVING STIPULATION TO EXTEND
     TIME FOR CROSS-DEFENDANT NILE NIAMI TO RESPOND TO CROSS-CLAIMANT
     CRESTLLOYD, LLC’S CROSS-COMPLAINT
was lodged on (date) October 25, 2022 and is attached. This order relates to the motion which is docket number                                     .




1
    Please abbreviate if title cannot fit into text field.

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December 2012                                                            Page 1                 F 9021-1.2.ADV.NOTICE.LODGMENT
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                        EXHIBIT A
             Case
10/25/22, 3:52 PM 2:22-ap-01125-DS                            Doc 85 Filed 10/25/22       Entered
                                                                            Lodged Order Upload       10/25/22 15:54:59
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                                              Adversary LODGED ORDER UPLOAD FORM

                                                                                                                     Tuesday, October 25, 2022




     Upload Again




   C O N F I R M AT I O N :

    Yo u ' v e s u c c e s s f u l l y u p l o a d e d t h e o r d e r :
   ( 11 2 5 7 8 1 4 . d o c x )
      A new order has been added




             Office: Los Angeles
             C a s e Ti t l e : I n f e r n o I n v e s t m e n t , I n c . v. C r e s t l l o y d , L L C e t a l
             C a s e N u m b e r : 2 2 - 0 11 2 5
             Judge Initial: DS
             C a s e Ty p e : a p ( A d v e r s a r y )
             Document Number: 84
             On Date: 10/25/2022 @ 03:52 PM


   Please print                this confirmation for future reference.



   T h a n k Yo u !

  United States Bankruptcy Court, Central District of California
  Edward R. Roybal Federal Building and Courthouse
  255 East Temple Street, Los Angeles, CA 90012




https://ecf-ciao.cacb.uscourts.gov/UploadOrders/Default.aspx?cmCookie=1800046-89181-613942525105711.618109096575647%3b&cmCaseType=…              1/1
Case 2:22-ap-01125-DS           Doc 85 Filed 10/25/22 Entered 10/25/22 15:54:59      Desc
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 1    RAINES FELDMAN LLP
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 6    Facsimile:     310.691.1367
 7    Attorneys for Cross-Defendant NILE NIAMI
 8
                                   UNITED STATES BANKRUPTCY COURT
 9
                    CENTRAL DISTRICT OF CALIFORNIA, LOS ANGELES DIVISION
10
                                                    Case No. 2:21-bk-18205-DS
11   In re:
                                                    Chapter 11
12   CRESTLLOYD, LLC,
13               Debtor and Debtor in Possession.
14                                      Adversary Number: 2:22-AP-01125-DS
     INFERNO INVESTMENT, INC., a Quebec
15   corporation,                       ORDER APPROVING STIPULATION TO
                                        EXTEND TIME FOR CROSS-DEFENDANT
16          Plaintiff,                  NILE NIAMI TO RESPOND TO CROSS-
                                        CLAIMANT CRESTLLOYD, LLC’S CROSS-
17   v.                                 COMPLAINT

18   CRESTLLOYD, LLC, a California limited          Date:        December 1, 2022
                                                    Time:        11:30 a.m.
     liability company; HANKEY CAPITAL LLC,         Place:       Courtroom 1639
19   a California limited liability company, YOGI                255 E. Temple Street
     SECURITIES HOLDINGS, LLC, a Nevada                          Los Angeles, CA 90012
20   limited liability Company; and HILLDUN
     CORPORATION, a NEW YORK                        The Hon. Debra Saltzman
21   CORPORATION,
22               Defendants.
23
     CRESTLLOYD, LLC, a California limited
24   liability company,
25               Cross-Claimant,
26   v.
27
     INFERNO INVESTMENT, INC., a Quebec
28   Corporation; NILE NIAMI, an individual;


                                                    1
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 1   YVONNE NIAMI, an individual, GROUND
     VIEW LLLP, a Nevada limited liability
 2   limited partnership; 1369 LONDONDERRY
 3   ESTATE LLC, a California limited liability
     company; MARBELLA CONSTRUCTION
 4   INC., a California limited liability company;
     N:PHILANTHROPY LLC, a California
 5   limited liability company; YOGI
     SECURITIES HOLDINGS, LLC, a Nevada
 6
     limited liability company; TROUSDALE
 7   ESTATE, LLC, a Nevada limited liability
     Company; JOSEPH ENGLANOFF, an
 8   individual; JUSTINE ENGLANOFF, an
     individual; NICOLE ENGLANOFF , an
 9   individual; JACQUELINE ENGLANOFF, an
     individual; HILLDUN CORPORATION, a
10
     New York corporation.
11
                 Cross-Defendants.
12

13               The court having reviewed and considered the Stipulation to Extend Time for Cross-

14   Defendant Nile Niami to Respond to Cross-Claimant Crestlloyd, LLC’s Cross-Complaint (the

15   “Stipulation”) [Dkt. No. 84], and good cause appearing,

16               IT IS HEREBY ORDERED that the Stipulation is approved. The deadline for Cross-

17   Defendant Nile Niami to answer, move, or otherwise respond to the Cross-Complaint filed by

18   Crestlloyd, LLC is extended by thirty days to November 10, 2022.

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                                      PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

1800 Avenue of the Stars, 12th Floor, Los Angeles, CA 90067

A true and correct copy of the foregoing document entitled: NOTICE OF LODGMENT OF ORDER OR JUDGMENT IN
ADVERSARY PROCEEDING will be served or was served (a) on the judge in chambers in the form and manner required
by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
October 25, 2022 I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:



       Kyra E Andrassy kandrassy@swelawfirm.com,
        lgarrett@swelawfirm.com;gcruz@swelawfirm.com;jchung@swelawfirm.com
       Todd M Arnold tma@lnbyg.com
       Ryan Coy rcoy@bg.law, ecf@bg.law
       Thomas M Geher tmg@jmbm.com, bt@jmbm.com;tmg@ecf.courtdrive.com
       David B Golubchik dbg@lnbyg.com, stephanie@lnbyb.com
       Jonathan Gottlieb jdg@lnbyg.com
       John A Moe john.moe@dentons.com,
        glenda.spratt@dentons.com;derry.kalve@dentons.com
       Joseph M Rothberg jmr@lnbyg.com
       Paul Sorrell psorrell@lavelysinger.com
       Howard Steinberg steinbergh@gtlaw.com, pearsallt@gtlaw.com;lalitdock@gtlaw.com
       United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
       Johnny White JWhite@wrslawyers.com, jlee@wrslawyers.com

                                                                                         Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On (date) _______________, I served the following persons and/or entities at
the last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.



                                                                                         Service information continued on attached page




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3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                         Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 10/25/2022                  Bambi Clark                                                     /s/ Bambi Clark
 Date                        Printed Name                                                    Signature




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